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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

         v.
                                                        Case No.: 1:21-cr-00447-CJN-2

 JOSEPH DANIEL HUTCHINSON III


              MOTION TO MODIFY CONDITIONS OF RELEASE
      TO ALLOW TRAVEL HOME TO CELEBRATE DEFENDANT’S BIRTHDAY


        COMES NOW, the Defendant, Joseph Daniel Hutchinson III, by and through his

undersigned counsel, and herein respectfully moves the Court to modify the conditions of his

pretrial release to allow him to travel out of the arresting district to celebrate his birthday with his

family in Florida. Counsel submits the following in support of this motion.

                                                  (1)

        Mr. Hutchinson was arrested in the Middle District of Georgia on June 30, 2021, pursuant

to a sealed complaint filed June 25, 2021. (MDGA Case 5:21-mj-00056 (Hereinafter “MDGA-

Doc.”, 2) He made his first appearance, and was released from custody under certain conditions.

(MDGA-Doc.11) He was indicted July 1, 2021. (DCD Case 1:21-cr-00447 (Hereinafter “DCD-

Doc.”, 8). He made his first appearance in the charging district via video teleconference on July

8, 2021 and was arraigned. (DCD Case 1:21-cr-00447 (Hereinafter “DCD-Doc.”, 07/08/2021 text

docket entry) He was given an appearance bond and released on certain conditions of release.

(DCD-Doc.21).

                                                  (2)

        Since his release, Mr. Hutchinson has been working for his father at a used merchandise

store that his father owns and operates in Albany, GA. Mr. Hutchinson grew up in Lakeland, FL
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and members of his family still live there. On November 23, 2021 Mr. Hutchinson filed a motion

seeking to modify his conditions of pretrial release to allow him to travel back to Lakeland, FL to

celebrate the Thanksgiving holiday with family and friends. (DCD-Doc.65) Following a hearing

on the motion later that same day, the court granted the motion and issued the associated order.

(DCD-Doc.66) Mr. Hutchinson then traveled to Florida for the Thanksgiving holiday and returned

to Albany, GA where he has been living during the pendency of this case. Mr. Hutchinson adhered

to every condition placed upon the court’s permission for him to make that trip. There were no

problems or violations at all. Subsequently Mr. Hutchinson filed a motion requesting permission

to travel to Florida to celebrate the Christmas Holiday and the wedding of his best friend and co-

defendant, Mr. Doolin. (DCD-Doc.69) The court granted the motion (12/22/2021 text docket

entry). Mr. Hutchinson traveled to Florida and returned, adhering to the required conditions

imposed by the Court, with no problems.

                                                 (3)

       Mr. Hutchinson’s conditions of release include both home detention and a requirement that

he notify the Middle District of Georgia “in advance of all travel outside the jurisdiction.” (Doc.21,

7(t)) Any travel outside the continental United States must be approved by the court.

       Although the court’s order only requires notification for travel outside the jurisdiction,

United States Probation has taken the position that the Home Detention condition (7(p)(ii))

requires court approval for travel outside of the district. Consequently, Mr. Hutchinson, through

counsel, now files this motion seeking such an order.

       Mr. Hutchinson respectfully requests the modification to travel to Lakeland, FL to

celebrate his birthday, which is March 28, 2022.

                                                 (4)
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          Mr. Hutchinson respectfully requests an order from the court authorizing the following

travel:

    I. BIRTHDAY CELEBRATION – MARCH 28-30, 2022

    •     Mr. Hutchinson would leave Albany, GA the morning of March 28, 2022, and
             return to his home in Albany, GA on March 30, 2022.

    •     Mr. Hutchinson would travel by driving his vehicle from Albany, GA to Lakeland,
             FL and back.

    •     Mr. Hutchinson would stay in the same home he stayed at during his uneventful
          Thanksgiving trip: the home of his adopted brother, located at 5001 Lewellyn Rd,
          Lot 1, Lakeland, FL 33810.

    •     Mr. Hutchinson would be confined to the residence at 5001 Lewellyn Rd. in
          Lakeland throughout his stay there, consistent with the terms of the Home
          Detention condition of his pretrial release, but for the following event:

          •   Birthday Dinner
              • March 29, 2022: 6pm-11pm (Timing dependent on reservation availability)
              • Texas de Brazil, 4112 W Boy Scout Blvd, Tampa, FL 33607


    •     Mr. Hutchinson would comply with US Probation’s GPS location monitoring
          program throughout the trip, to include taking the GPS “beacon” device from his
          home in Albany, GA, ensuring its accurate placement in the residence at 5001
          Lewellyn Rd in Lakeland, as well as reversing the process when he returns home.



                                                  (5)

          Mr. Hutchinson, through counsel, has discussed this proposed travel with the government

and US Probation. US Probation will continue to supervise Mr. Hutchinson while in Florida

consistent with procedures utilized during previous authorized trips.

          Counsel for the defense contacted the government and is authorized to relate their position

to the court:

                 The government does not oppose the travel for the birthday celebration as
                 outlined in this pleading.
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               WHEREFORE, because this request is reasonable, consistent with the current

conditions of pretrial release and because it otherwise would be just and fair to grant the request,

Mr. Hutchinson, through counsel, respectfully requests the court grant the motion and issue an

order authorizing Mr. Hutchinson’s travel as outlined above.



       Dated this 18th of March 2022.


                                              Respectfully submitted,


                                              /s/Timothy R. Saviello
                                              Timothy R. Saviello
                                              Ga. Bar No. 627820

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                            CERTIFICATE OF SERVICE


       I, Timothy R. Saviello, hereby certify that I electronically filed the foregoing pleading

with the clerk of Court using the CM/ECF system which will send notification of such to all

counsel of record.


                                             /s/Timothy R. Saviello
                                             Timothy R. Saviello
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